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                        IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


J.O.P., et al.,

         Plaintiffs,
                                                           Civil Action No.
    v.                                                     8:19-CV-01944-SAG

U.S. Department of Homeland Security, et al.,

         Defendants.



     CLASS COUNSEL’S EMERGENCY MOTION FOR AN ORDER DIRECTING
    DEFENDANTS TO PROVIDE IMMEDIATE NOTICE UPON CLASS MEMBER’S
                             RETURN

         Class Counsel moves the Court for an order requiring Defendants to provide immediate (in

under two hours) notice to the Court and Class Counsel if and when Class Member Cristian is

returned to the United States. The basis for this Motion is as follows:

         1.        This Court ordered Defendants on April 23, 2025, to facilitate the return of Class

Member Cristian (a pseudonym) to the United States to await adjudication of his asylum

application on the merits by USCIS. ECF No. 254. Since that date, Defendants have not provided

any information to show that they have complied with the Court’s order, and the Court has ordered

discovery regarding Defendants’ compliance. See, e.g., ECF No. 293 (Order Granting Expedited

Discovery); ECF No. 308 (Plaintiffs’ Motion to Compel Discovery Related to Defendants’

Violations of the Court’s Orders).

         2.        On June 27, 2025, Defendants filed a motion with the Fourth Circuit asking that

court to hold their pending appeal of this Court’s order in abeyance. D.I. 38. In that motion,
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Defendants represented that they would be seeking an “indicative ruling” in the “coming weeks”

because “the Government believes that it has . . . complied with the order.” Id. at 1-2.

       3.      Defendants have refused Class Counsel’s express requests for information about

the factual basis for the planned motion, including during a meet and confer held on July 1, 2025.

       4.      Given Defendants’ representations to the Fourth Circuit that they will demonstrate

in the “coming weeks” their compliance with the Court’s order that they facilitate Cristian’s return,

Class Counsel seek an order from this Court requiring Defendants to provide the Court and Class

Counsel with immediate notice if and when Defendants return Cristian to the United States. Such

notice is essential to ensure that Cristian’s right to an adjudication on the merits of his pending

asylum claim under Section III.B of the Settlement Agreement is fully protected, including his

right to advance notice of any intended asylum interview and his right to be represented by his

immigration counsel at such an interview. 8 C.F.R. § 208.9(b) (at asylum interview, “[t]he

applicant may have counsel or a representative present, may present witnesses, and may submit

affidavits of witnesses and other evidence”); Affirmative Asylum Procedures Manual, II.J. 1

       5.      At approximately 5:15 p.m. on July 2, Class Counsel emailed Defendants’ counsel

seeking their confirmation that they would notify the Court and Class Counsel immediately upon

Cristian’s return, and in no event more than two hours after he is returned to the United

States. Class Counsel also reminded Defendants’ counsel that pursuant to the Settlement

Agreement, if Cristian is returned to the United States, Defendants are prohibited from removing




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  On May 15, 2025, Class Counsel raised with Defendants an instance in which Defendants
subjected a detained Class Member to an asylum interview without his counsel of record present,
without sufficient advance notice to counsel, despite his counsel’s requests to be notified in
advance of the interview. Defendants have yet to provide any a substantive response regarding
this Class Member, who remains detained and whose asylum application USCIS subsequently
denied.


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him again “unless and until [Class Counsel’s motion to enforce] has been resolved in favor of

Defendants.” Settlement Agreement V.D (emphasis added). Defendants’ counsel confirmed

receipt of the email at 5:57 p.m., but declined to provide a response before 7:00 p.m. as requested

because they received the email after close of business. Defendants’ counsel subsequently

communicated today, July 3, 2025, that they expect to respond early next week.

       6.      Given Defendants’ representation on June 27 that they would demonstrate

compliance “in the coming weeks,” and in view of the upcoming federal holiday weekend, such

an order is necessary to ensure that Cristian receives the adjudication on the merits of his asylum

application that he is due under the Settlement Agreement.

       7.      Class Counsel are available for a telephonic status conference today, Thursday, July

3, 2025, if needed, to discuss this Motion.




Dated: July 3, 2025                                  Elaine Herrmann Blais*
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